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 6 United States of America

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:15-cr-00286-DAD-BAM
12                                Plaintiff,              STIPULATION AND ORDER
                                                          REGARDING CONTINUANCE
13                 v.
14   ZAID ELODAT,
15                                Defendant.
16

17

18                                             STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and defendant, by
20 and through his counsel of record, hereby stipulate as follows:

21
            1.     By previous order, this matter was set for sentencing on Monday, March 7, 2016, at
22
     10:00 a.m.
23
            2.     By this stipulation, the parties now move to continue the matter to Monday, July 11,
24

25 2016, at 10:00 a.m.
26          3.     Pursuant to the new Formal/Informal/Response to PSR schedule effective Monday,

27 March 23, 2015, the parties further stipulate to the following schedule:

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 1
            Informal Objections Due:                                June 13, 2016
 2

 3          Final PSR Filed with the Court:                         June 20, 2016

 4          Formal Objections to PSR/Sentencing Memo due:           June 27, 2016
 5          Responses to Formal Objections/Reply to Sentencing Memo:      July 5, 2016
 6
            IT IS SO STIPULATED.
 7

 8 DATED:         December 16, 2015    Respectfully submitted,

 9                                     BENJAMIN B. WAGNER
                                       United States Attorney
10

11                                     /s/ Karen A. Escobar
                                       KAREN A. ESCOBAR
12                                     Assistant United States Attorney

13
     DATED:       December 16, 2015
14
                                       /s/ Edward Robinson
15                                     EDWARD ROBINSON
                                       Counsel for Defendant
16                                     Zaid Elodat

17

18                                            ORDER

19
20 IT IS SO ORDERED.

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22 Dated:     December 17, 2015
23                                                     DALE A. DROZD
                                                       UNITED STATES DISTRICT JUDGE
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